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                               SHELBY COUNTY SHERIFF'S OFFICE
                                       JAILDMSION
                                  INMATE GRIEVANCE FORM
                                                                    R&INUMBER                             BOOKING#




Use if not medical, confid-   Use if you feel that there was lack   Use if you feel a member of the       Use if there is immediate threat
ential or emergency.          of medical care inadequate med-       jail staff has committed a criminal   of bodily harm to inmate or jail
Medical co-pay issues are     cal care of improper medical          or illegal act                        staff or there is threat of disruption
line · ances.    care and it is not an                                                    to · · .
GRIEVANCE STATEMENI': Provide specific: information regarding issue. Specify dates, personnel involved, etc.
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                                                                      COORDINATOR:

DISPOSmON CODF.:




REASON:
